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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

                                CASE NO.: 21-CV-00283-SPC-MRM

  DAVID SCHWARTZ,

                  Plaintiff,
            v.

  ADP, INC. and
  AUTOMATIC DATA PROCESSING, INC.,

             Defendants.
  _________________________________/

        DEFENDANT, ADP, INC.’S, FIRST SET OF INTERROGATORIES TO
                     PLAINTIFF, DAVID SCHWARTZ

            Defendant, ADP, INC. (“ADP”), pursuant to Federal Rule of Civil Procedure

  33, requests that Plaintiff, DAVID SCHWARTZ (“Schwartz”), respond to the

  following interrogatories in accordance with the instructions set forth herein and the

  Federal Rules of Civil Procedure.

                                       INSTRUCTIONS

            A.    As used herein, the singular of any word or phrase includes the plural and

  the plural includes the singular.

            B.    If any of the responses requested cannot be provided in full or in part, you

  shall state, in writing, the reasons for your inability to provide all or any portion of the

  response requested and serve those reasons on Defendant at the time required for a

  response



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            C.   If in responding to these interrogatories, if you encounter any ambiguity

  in construing any Request, instruction or definition, set forth the matter deemed

  ambiguous and the construction used in responding thereto.

            D.   Your duty to respond to these interrogatories includes the duty to supply

  all information (discoverable pursuant to the Federal Rules of Civil Procedure) from

  sources within your control.

            E.   If You do not understand any of the Requests, or think any are vague,

  unclear, or overly broad or unduly burdensome, please contact the undersigned to

  discuss. We would prefer if possible to clarify misunderstandings and potential disputes

  informally rather than receive an objection, file a motion, seek a hearing, delay the

  proceedings and involve the Court. Also, to make responding easier, we are agreeable

  to sending you a Word version of the Requests upon request. Although we understand

  that responses to requests for interrogatories do not require including the requests, we

  believe it is easier for both parties to include the request, followed by the response.

                                        DEFINITIONS

            A.   The term “communication” refers to any transmission or provision of

  advice, guidance, or information of any kind, whether in oral, written, documentary,

  demonstrative, electronic, or any other form or manner.

            B.   Unless otherwise specified, “communications” include communications

  with any individual, business, organization, or entity.

            C.   “ADP” refers to ADP, Inc., including any agents, employees,

  representatives, officers, or directors thereof.
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            D.   “Schwartz” or “You” refer to DAVID SCHWARTZ, including any

  agents, employees, or representatives.

                                  INTERROGATORIES

            1.   Identify all cell phone numbers Schwartz has used since July 1, 2018.

                 RESPONSE:




            2.   Identify which Internet Service Provider Schwartz has used since July 1,

  2018.

                 RESPONSE:




            3.   Provide the International Mobile Equipment Identity (“IMEI”) numbers

  for the iPhones referenced in Paragraphs 71, 72, 73, 79, 81, 94, 102, 109, 135, 143, and

  156 – 157 of the Verified Amended Complaint. (To obtain the IMEI for an Apple device,

  on the device open the following menus: Settings ( General ( About).

                 RESPONSE:




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            4.   Provide the Mobile Equipment Identifier (“MEID”) numbers for the

  iPhones referenced in Paragraphs 71, 72, 73, 79, 81, 94, 102, 109, 135, 143, and 156 –

  157of the Verified Amended Complaint. (To obtain the MEID for an Apple device, on

  the device open the following menus: Settings ( General ( About).

                 RESPONSE:




            5.   Provide the serial numbers for the iPhones referenced in Paragraphs 71,

  72, 73, 79, 81, 94, 102, 109, 135, 143, and 156 – 157 of the Verified Amended Complaint.

  (To obtain the serial number for an Apple device, on the device open the following

  menus: Settings ( General ( About).

                 RESPONSE:




            6.   Provide the International Mobile Equipment Identity (“IMEI”) numbers

  for the iPad ADP issued to you. (To obtain the IMEI for an Apple device, on the device

  open the following menus: Settings ( General ( About).

                 RESPONSE:




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            7.   Provide the Mobile Equipment Identifier (“MEID”) numbers for the iPad

  ADP issued to you. (To obtain the MEID for an Apple device, on the device open the

  following menus: Settings ( General ( About).

                 RESPONSE:




            8.   Provide the serial number for the iPad ADP issued to you. (To obtain the

  serial number for an Apple device, on the device open the following menus: Settings (

  General ( About)

                 RESPONSE:




            9.   Identify the Wi-Fi address, make, and serial number of the personal

  computer(s) referenced in Paragraphs 94, 102, 109, 135, 143, and 156 – 157 of the

  Amended Verified Complaint.

                 RESPONSE:




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            10.   Identify the Wi-Fi address, make, and serial number of the business

  computer(s) referenced in Paragraph 94, 102, 109, 135, 143, and 156 – 157 of the

  Amended Verified Complaint.

                  RESPONSE:




            11.   Identify the Wi-Fi address, make, serial number, and associated phone

  number(s) of the mobile telephone devices referenced in Paragraph 94, 102, 109, 135,

  143, and 156 – 157 of the Amended Verified Complaint.

                  RESPONSE:




            12.   Identify any cell phone numbers used by Amber Schwartz from July 1.

  2018 through the present date.




                  RESPONSE:




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            13.   Identify the Wi-Fi address, make, serial number, and associated phone

  number(s) of the mobile telephone devices owned by Amber Schwartz from July 1,

  2018 through the present date.

                  RESPONSE:




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                                     VERIFICATION

  I have read the foregoing interrogatories and the answers thereto, and the answers are

  true and correct. .



                                    DAVID SCHWARTZ




  STATE OF ________________
  COUNTY OF ______________

            The foregoing instrument was acknowledged before me by means of ' physical
  presence or ' online notarization, this                  day of                   ,
  2021 by                           , who is personally known to me or who has
  produced                        as identification.


                                            ______________________________
                                            Notary Public
                                            ______________________________
                                            Printed Name
                                            My Commission Expires: ____________

  [Notary Seal]




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